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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                               JACKSONVILLE DIVISION


IN RE: LILLY JOSEPHINE REAL
                                           Bankruptcy Case No. 3:16-bk-3913-JAF


_________________________________

FRANK E. POLO, SR.,

         Appellant(s),

                                                  Case No. 3:20-cv-429-J-39
vs.

LILLY JOSEPHINE REAL,

         Appellee(s).
_________________________________/


NOTICE OF DESIGNATION UNDER LOCAL RULE 3.05 (BANKRUPTCY APPEAL)

         Please take notice that, in accordance with Local Rule 3.05, this action is

designated as a Track One Case. Filing party (who instituted suit in this Court) is

responsible for serving a copy of this notice upon all other parties.

         The parties' briefs shall be filed in accordance with the procedures and deadlines

established under the Federal Rules of Bankruptcy Procedure, Rule 8018. The parties'

briefs should include a statement advising whether oral argument is requested in

accordance with the Federal Rules of Bankruptcy Procedure, Rule 8019(a). Additionally,

the parties should confer and advise the Court at the time appellee's responsive brief is
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filed whether they believe mediation may be fruitful and, if applicable, which mediator

they would like to have handle the mediation.1


                                          ELIZABETH WARREN, CLERK
                                          By: s/ VA fã|ÇàÉÇrrrrrrrrrrrrr
                                                 Deputy Clerk

Date: June 8, 2020

Distribution: - Counsel of record




1
 A list of certified mediators is available from the Clerk’s Office and the Court’s
website: www.flmd.uscourts.gov.
